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Exhibit 1
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HYLAND LAW PLLC

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TIMOTHY B. HYLAND*

TYLER SOUTHWICK“ January 12, 2023
EUZABETH A. DWYER*

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JOSEPH M. CREED, OF COUNSEL*
VIRGINIA (GIA) GRIMM, OF COUNSEL*

* ADMITTED IN VA, DC, MOD, NY ANO WV
+AOMITTED IN VA, MD AND DC

* ADMITTED IN VA AND DC

§ ADMITTED IN VA AND NY

X ADMITTED IN MD AND DC

By FedEx

Ms. Caroline Wren
609 Maryland Avenue, N.E., Apt. 1
Washington, DC 20002

Dear Ms. Wren:
As you know, this firm represents a On January 11, 2023, you posted
a number of items about and referring to Mr. including the following:
“the republican strategist alleges” He’s not a “strategist”, he was
a 39 yr old volunteer driver who had been fired from multiple
campaigns for lying and unethical behavior. @jamiegangel knew

this, chose not to print it, and is now reporting her lies on
television. Shame on her.

Just about everything you posted about Mr. GE asicc from his approximate age, and
you later managed to get even that wrong) is false. Indeed, it is breathtaking to behold how
much false information you manage to compress into a series of short tweets. But for
purposes of this letter, let’s focus on your statement that Mr. “hac been fired from
multiple campaigns for lying and unethical behavior.” This is false and defamatory. You
must retract this statement immediately.
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Ms. Caroline Wren
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I understand that in your world, making false statements about people with whom
you disagree is de rigueur. But in this this instance, you have employed your usual tactic
against a private citizen. That was a grave error in judgment. You can minimize your
exposure with a suitable and immediate retraction.

Best regards.

Sincerely,

(LeBth

Timothy B. Hyland

ce: Client (by email)
